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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                                Case No. 0:24-CV-60382



           JESSICA PIAFSKY, an individual,
                                                Plaintiff,

                                   v.

          MB HOME IMPROVEMENTS INC. a Florida
          corporation, MAXIM BOHADANA, an individual,
          ROI NEEMAN, an individual and
          CONSTRUCTION FORT LAUDERDALE INC
          .d/b/a MB HOME IMPROVEMENTS,
          a Florida corporation,
                                           Defendants



                    ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

      Before the Court is Counsel for Defendants, MB Home Improvements Inc., and Maxim Bohadana

(“Bohadana”) Motion to Withdraw as Counsel (“Motion”) [ECF No. 63] filed by on behalf of Defendants on

January 29, 2025. Upon Due consideration, it is ORDERS AND ADJUDGED as follows:


     1.        The Motion to Withdraw as Counsel for MB Home Improvements Inc. and Maxim Bohadana is

     hereby GRANTED.

     2.        The Tolley Firm, P.A., and attorney Justin Tolley, Esq. are relieved of any further responsibility

     for the representation of MB Home Improvements Inc. and/or Mr. Bohadana in this matter.

     3.        MB Home Improvements Inc. is advised that, as a corporation, it cannot proceed pro se and must

     be represented by counsel. MB Home Improvements Inc. shall have fourteen (14) days from the date of

     this Order to retain new counsel, who shall file a Notice of Appearance. Failure to do so may result in

     sanctions, including the possibility of default.
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             4.     Mr. Bohadana may elect to proceed pro se or retain new counsel. If he intends to proceed

     without counsel, Mr. Bohadana shall file a notice with the Court to that effect within fourteen (14) days of

     this Order. Otherwise, new counsel shall file a Notice of Appearance on his behalf within the same period.

             5.     Parties should serve all future correspondence and pleadings on Maxim Bohadana at the

     following physical address 6412 N University Dr Ste 102 Tamarac, FL 33321, with email correspondence

     to be directed to max@mbhi.pro.




          DONE and ORDERED in the Southern District of Florida this ____ day
of ________________, 20___.

                                                   _____________________
                                                    Judge David S. Leibowitz
                                                   UNITED STATES DISTRICT JUDGE

CC: All Parties and Counsel of Record
